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                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          CASE NO. 2:10-CR-305 MCE

12                                Plaintiff,            ORDER

13                          v.

14   SARA SHIRAZI,

15                                Defendant.

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17          On February 12, 2015, counsel for defendant Shirazi and counsel for the government appeared

18 before the Court for a status conference. At that status conference, the issue of Ms. Shirazi’s
19 competence was raised, and the government requested an order to have a doctor of its choosing examine
20 Ms. Shirazi to assess her competence. That request was granted, and this order formalizes the order
21 given at the February 12, 2015 hearing.
22          IT IS SO ORDERED.

23 Dated: April 1, 2015
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